     Case 1:09-cr-00100-LG-RHW              Document 43         Filed 03/24/10       Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                                        CRIMINAL NO. 1:09cr100WJG-RHW-1

LATANICIA MCMILLAN ROGERS


                                              ORDER


        THIS CAUSE is before the Court on the motion [31] of Defendant Latanicia McMillan

Rogers, to dismiss the Indictment pending against her for alleged selective prosecution on the

part of the United States of America, [United States]. Rogers asserts that Georgia Journey and

Jackie Crowley, two individuals who allegedly had numerous business dealings with Jim Davis

Hull, were never charged with any crimes like the charges brought against Rogers. (Ct. R., Doc.

31, pp. 1-2.) Rogers contends that such conduct on the part of the United States creates a prima

facie showing that the United States’ acts were motivated by improper consideration. (Id., p. 2.)

        The United States maintains that Rogers has not met her burden of showing she was

singled out for prosecution because of a discriminatory purpose. (Ct. R., Doc. 33, p. 5.) A

failure to prosecute other individuals who may have violated the same laws is insufficient to

establish discriminatory prosecution according to the United States. (Id., p. 4.) The United

States asserts that Jackie Crowley is improperly identified, and notes that Jacqualine Crawley was

indicted for her role in similar fraudulent schemes; tried to a jury in this district, and is currently

serving her sentence in federal custody. (Criminal Action No. 1:07cr125LG-RHW-4.)

Charges were dismissed against Georgia Journey.
                                                Page 1 of 2
     Case 1:09-cr-00100-LG-RHW             Document 43        Filed 03/24/10     Page 2 of 2




       In order to succeed on her claim of selective prosecution, Rogers must show that other

similarly-situated offenders were not prosecuted, and that the United States charged her in this

offense for a discriminatory reason. See United States v. Cooks, 52 F.3d 101, 105 (5th Cir.

1995). She must show that her selection for prosecution was undertaken in bad faith and rests on

such impermissible considerations as race, religion, or the desire on the part of the United States

to prevent the exercise of her constitutional rights. United States v. Jones, 287 F.3d 325, 334

(5th Cir. 2002).

       According to her allegations, the fact that Georgia Journey and Jackie Crowley were not

prosecuted is evidence of selective prosecution, although she offers nothing in support of her

allegations. (Ct. R., Doc. 31.) Further, she offers no evidence to indicate any discriminatory

animus present in this prosecution. The Court therefore concludes that she fails to carry her

burden of establishing invidious selective prosecution and that the motion to dismiss should be

denied. United States v. Sparks, 2 F.3d 574, 580 (5th Cir. 1993). The Court further concludes

that her related request for a hearing on this matter should be denied as moot. See United States

v. Dukes, 139 F.3d 469, 474 (5th Cir. 1998); See United States v. Jennings, 724 F.2d 436 (5th

Cir.), cert. denied, 467 U.S. 1227 (1984). It is therefore,

       ORDERED AND ADJUDGED that Defendant’s motion [31] to dismiss the Indictment

based on selective prosecution be, and is hereby, denied.

               SO ORDERED AND ADJUDGED this the 24th day of March, 2010.




                                                UNITED STATES SENIOR DISTRICT JUDGE


                                              Page 2 of 2
